    Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 1 of 33




HABBA MADAIO & ASSOCIATES LLP
Alina Habba, Esq.
1430 U.S. Highway 206, Suite 240
Bedminster, New Jersey 07921
       -and-
112 West 34th Street, 17th & 18th Floors
New York, New York 10120
Telephone: (908) 869-1188
Facsimile: (908) 450-1881
E-mail: ahabba@habbalaw.com
Attorneys for Plaintiffs,
Donald J. Trump and Trump Organization LLC

                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF NEW YORK


 DONALD J. TRUMP and TRUMP                      Civil Action No.: 1:21-cv-01352-BKS-CFH
 ORGANIZATION LLC,

                      Plaintiffs,

        v.

 LETITIA JAMES, in her official capacity as
 Attorney General for the State of New York,

                      Defendant.


             MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
                MOTION FOR A PRELIMINARY INJUNCTION

                                          Alina Habba, Esq.
                                          HABBA MADAIO & ASSOCIATES LLP
                                          1430 U.S. Highway 206, Suite 240
                                          Bedminster, New Jersey 07921
                                                 -and-
                                          112 West 34th Street, 17th & 18th Floors
                                          New York, New York 10120
                                          Telephone: (908) 869-1188
                                          Facsimile: (908) 450-1881
                                          E-mail: ahabba@habbalaw.com
                                          Attorneys for Plaintiffs,
                                          Donald J. Trump and Trump Organization LLC
        Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 2 of 33




                                                   TABLE OF CONTENTS

                                                                                                                                  Page

TABLE OF AUTHORITIES .......................................................................................................... ii

PRELIMINARY STATEMENT .....................................................................................................1

STATEMENT OF FACTS ..............................................................................................................2

LEGAL STANDARD ......................................................................................................................4

ARGUMENT ...................................................................................................................................5

   I.     Plaintiffs Are Suffering Irreparable Harm Due to the Ongoing Deprivation of Their
          Constitutional Rights ...........................................................................................................5

  II.     Plaintiffs Have a Likelihood of Success on the Merits ........................................................7

                A. Plaintiffs’ Right to Freedom of Speech under the First Amendment is Being
                     Impermissibly Infringed...........................................................................................7

                B. Defendant Has Violated Plaintiffs’ Fourth Amendment Right to be Free from
                     Unreasonable Searches and Seizures .....................................................................10

                C. Defendant’s Actions Violate Plaintiffs’ Constitutional Right to Due Process Under
                     the Fourteenth Amendment....................................................................................13

                           i. Defendant is an Interested Prosecutor........................................................14

                          ii. Defendant’s Participation in a Contemporaneous Criminal Action Exceeds
                                its Statutory Authority................................................................................16

                D. Defendant’s Actions Constitute an Abuse of Process............................................20

                           i. The Balance of the Hardships Tips in Plaintiffs’ Favor ............................23

                          ii. A Preliminary Injunction is in the Public Interest .....................................24

CONCLUSION ..............................................................................................................................25




                                                                     i
      Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 3 of 33




                                            TABLE OF AUTHORITIES


A’Hearn v. Comm. on Unlawful Practice of Law of N.Y. Cty. Lawyers’ Ass’n,

    23 N.Y.2d 916, 919 (1969) .....................................................................................................12

Airbnb, Inc. v. Schneiderman,

    44 Misc. 3d 351, 356 (Sup. Ct. Albany Cnty. 2014) ..............................................................12

Am. Civil Liberties Union v. Clapper,

    804 F.3d 617, 622 (2d Cir. 2015) .........................................................................................4, 5

Ass’n of Jewish Camp Operators v. Cuomo,

    470 F.Supp.3d 197, 227 (N.D.N.Y July 6, 2020) .....................................................................6

Berger v. United States,

    295 U.S. 78, 88 (1935) .....................................................................................................14, 24

Bisnews AFE (Thailand) Ltd. v. Aspen Research Grp. Ltd.,

    437 Fed. App'x 57, 58 (2d Cir. 2011) .......................................................................................6

Board of Educ. of Farmingdale Union Free Sch. Dist. v. Farmingdale Classroom Teachers

Assn., Inc.,

    38 N.Y.2d 397 (1975) .............................................................................................................20

Brock v Tolkow,

    109 F.R.D. 116, 119 (E.D.N.Y 1985) .....................................................................................19

Buckley v. Valeo,

    424 U.S. 1, 15, 96 S. Ct. 612, 632 (1976).............................................................................7, 8

Cf. Screws v. United States,

     325 U.S. 91, 65 S.Ct. 1031, 89 L.Ed. 1495 (1945) ................................................................14

Citigroup Glob. Markets, Inc. v. VCG Special Opportunities Master Fund Ltd.,

    598 F.3d 30, 35 (2d Cir. 2010) ...............................................................................................23


                                                                 ii
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 4 of 33




Citizens United v. Fed. Election Comm’n,

    558 U.S. 310, 340 (2010)......................................................................................................7, 8

Cook v. Sheldon,

    41 F.3d 73, 80 (2d Cir. 1994) .................................................................................................20

Covino v. Patrissi,

    967 F.2d 73, 77 (2d Cir. 1992) .................................................................................................6

Curiano v. Suozzi,

    63 NY2d 113, 116 (1984) .......................................................................................................20

D'Amico v. Correctional Med. Care, Inc.,

    120 A.D.3d 956, 960 (4th Dept 2014) ....................................................................................22

DaCosta v. City of New York,

    296 F. Supp. 3d 569, 600 (E.D.N.Y. 2017) ............................................................................24

Elrod v. Burns,

    427 U.S. 347, 373 (1976)....................................................................................................6, 23

Faiveley Tansport Malmo AB v. Wabtec Corp,

    559 F.3d 110, 118 (2d Cir. 2009) .............................................................................................6

Fed. Election Com'n v. Larouche Campaign,

    817 F.2d 233, 234 (2d Cir. 1987) .....................................................................................10, 11

Fed. Trade Comm’n v. Am. Tobacco Co.,

    264 U.S. 298, 306 (1924)..................................................................................................10, 12

Ginsberg v. Ginsberg,

    84 A.D.2d 573, 573 (2d Dep’t 1981) ......................................................................................21

Hartman v. Moore,

    547 U.S. 250, 256 (2006)........................................................................................................10



                                                                iii
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 5 of 33




Heffernan v. City of Paterson, N.J.,

    578 U.S. 266, 270, 136 S.Ct. 1412, 1417, 194 L Ed 2d 508 (2016) .........................................8

Hill v. Colorado,

    530 U.S. 703, 719 (2000)..........................................................................................................7

Horn Const. Co. v. Fraiman,

    34 A.D.2d 131, 133 (1st Dep’t 1970) ...............................................................................12, 13

In re Horowitz,

    482 F.2d 72, 78 (2d Cir. 1973) ..............................................................................................11

Jolly v. Coughlin,

    76 F.3d 468, 482 (2d Cir. 1996) .....................................................................................6, 7, 23

Liss v. Forte,

    96 A.D.3d 1592, 947 N.Y.S.2d 270 (4th Dep’t 2012) ...........................................................20

Lore v. City of Syracuse,

    No. 00-CV-1833-HGM-DEP, 2001 WL 263051 at *6 (N.D.N.Y. 2001) ..............................23

Lynch v. City of New York,

    589 F.3d 94, 98 (2d Cir. 2009) .................................................................................................4

Marshall v. Jericho, Inc.,

    446 U.S. 238, 249-250 (1980) ............................................................................................5, 14

Matter of Haggerty v. Himelein,

    89 N.Y.2d 431, 436 (1997) .....................................................................................................19

Matter of Harlem Teams for Self-Help v. Department of Investigation of City of N.Y.,

    122 Misc.2d 1066, 1074, 472 N.Y.S.2d 967 (N.Y. Co. 1984) ...............................................16

Mitchell v. Cuomo,

    748 F.2d 804, 806 (2d Cir. 1984) .......................................................................................6, 23



                                                                iv
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 6 of 33




Morrison v. Lefevre,

    592 F Supp 1052, 1077 (SDNY 1984) ...................................................................................14

Myerson v. Lentini Bros. Moving & Storage Co.,

    33 N.Y.2d 250, 258 (1973) .....................................................................................................12

N.Y. State Dept. of Fin. Servs.,

    769 F.3d at 110 .........................................................................................................................7

Otoe-Missouria Tribe of Indians v. N.Y. State Dept. of Fin. Servs.,

    769 F.3d 105, 110 (2d Cir. 2014) ............................................................................................4

Palko v. Connecticut,

    302 U.S. 319, 325, 58 S.Ct. 149, 152, 82 L.Ed. 288 (1937) ...................................................13

Parkin v. Cornell Univ., Inc.,

    78 N.Y.2d 523, 530 (1991) .....................................................................................................22

People v. Gilmour,

    98 N.Y.2d 126, 132 (2002) .....................................................................................................16

People v. Cuttita,

    7 N.Y.3d 500, 507 (2006) .......................................................................................................16

People v. Fox,

    253 A.D.2d 192, 195 (1999) ...................................................................................................17

People v. Fuller,

    282 N.Y.S. 28, 49 (Gen. Sess. 1935) ......................................................................................24

People v. Romero,

    91 N.Y.2d 750, 758 (1998) .....................................................................................................17

Police Dep’t of Chi. v. Mosley,

    408 U.S. 92, 96 (1972)..............................................................................................................8



                                                                    v
      Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 7 of 33




Reilly v. Natwest Markets Group, Inc.,

    178 F.Supp.2d 420, 430 (S.D.N.Y. December 28, 2001) .......................................................20

Rochin v. California,

    342 U.S. 165, 169 (1952)..................................................................................................13, 19

Rosenberger v. Rector & Visitors of Univ. of Va.,

    515 U.S. 819, 828 (1995) .........................................................................................................8

See v. City of Seattle,

    387 U.S. 541, 544 (1967)........................................................................................................11

Statharos v. New York City Taxi and Limousine Commission,

    198 F.3d 317, 322 (2d Cir.) .....................................................................................................6

Sterling Bank v. A-I Hotels Int’s Inc,

    175 F.Supp.2d 573, 579 (S.D.N.Y. 2001) ..............................................................................20

Trump v. Vance,

    140 S. Ct. 2412, 2428 (2020) ..............................................................................................1, 10

Tunick v. Safir,

    209 F.3d 67, 87 (2d Cir. 2000) .................................................................................................6

U.S. Serviceman’s Fund v. Eastland,

    488 F.2d 1252, 1256-57 (D.C. Cir. 1973) ..............................................................................24

United States v. Bowen,

    799 F.3d 336, 353-354 (5th Cir. 2015) ...................................................................................15

United States v. Silver,

    103 F. Supp. 3d 370, 378-79 (S.D.N.Y. 2015) .......................................................................15

Wandering Dago, Inc. v. Destito,

    879 F.3d 20, 30–31 (2d Cir. 2018) ..........................................................................................8



                                                                vi
        Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 8 of 33




Wayte v. United States,

      470 U.S. 598, 608 (1985)........................................................................................................10

Young v. U.S. ex re. Vuitton et Fils S.A.,

      481 U.S. 787, 807 (1987)............................................................................................14, 15, 25

Berger v. United States,

      295 U.S. 78, 88 (1935)......................................................................................................14, 24

Statutes and Rules

42 U.S.C. § 1983 ..............................................................................................................................5

ABA M.R.P.C. Rule 3.8 ................................................................................................................22

Executive Law § 63 .......................................................................................................................16

Executive Law § 63(2) .................................................................................................16, 17, 18, 19

McKinney’s Executive Law § 63(12) ............................................................................................16

McKinney’s Executive Law § 63(2) ..............................................................................................16

Southern District of New York Local Rule 23.1(b) .......................................................................21




                                                                      vii
         Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 9 of 33




                                 PRELIMINARY STATEMENT

           This application is made in the face of an unprecedented, politically-motivated attack

orchestrated by the state’s highest ranking law enforcement official—the Attorney General—

against a private citizen, Donald J. Trump (“Trump”), and his business, the Trump Organization

LLC (the “Trump Organization”) (collectively, “Plaintiffs”), in a calculated attempt to circumvent

the United States Constitution and deprive him of his fundamental civil liberties.

           As outlined in Plaintiffs’ Complaint, the defendant, Letitia James (“Defendant”), has

displayed a shocking irreverence for her prosecutorial ethics and has routinely exploited her

position to malign the former president by turning an unfounded investigation into a public

spectacle. In doing so, she has exposed the vindictive and self-serving nature of her actions – she

is not serving any legitimate law enforcement interests but is merely seizing on an opportunity to

harass, threaten, and retaliate against Trump, his family and his associates. Her actions are

consistent with her self-proclaimed mission statement: to be a “real pain in the ass”1 by “us[ing]

every area of the law to investigate President Trump…his business transactions…his

family…[and] anyone in his orbit.”2

           Defendant’s weaponization of the Office of the New York State Attorney General is an

affront to this nation’s democracy and flies in the face of the United States Constitution. First, her

targeted attack against a political adversary is an impermissible attempt to silence speech protected

under the First Amendment. Second, her pretextual investigation into Plaintiffs’ business activities

is nothing more than an “arbitrary fishing expedition” which constitutes an unreasonable search

and seizure in violation of the Fourth Amendment. Trump v. Vance, 140 S. Ct. 2412, 2428 (2020).




1
    See Ex. A ¶ 55.
2
    See Ex. A ¶ 56.


                                                  1
        Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 10 of 33




Finally, her biased and overzealous handling of Plaintiffs’ investigation has unduly deprived them

of their right to due process as guaranteed by the Fourteenth Amendment.

         By virtue of the pervasive effect of Defendant’s misconduct, Plaintiffs have suffered and

will continue to suffer serious and irreparable harm. Therefore, Plaintiffs come before this Court

to seek injunctive relief in the form of an order requiring Defendant’s civil investigation to be

stayed for the duration of this action or, in the alternative, requiring that Defendant recuse herself

from being involved in any capacity in the investigation.

                                    STATEMENT OF FACTS

         In the interest of brevity and judicial economy, Plaintiffs will rely upon the recitation of

facts set forth in their Complaint, recently filed on December 20, 2021, which is annexed as

Exhibit A to the Declaration of Alina Habba, Esq. For the Court’s convenience, however, a brief

summary of the factual history is provided below.

         Defendant exhibited a clear and profound hatred for the Plaintiff well before serving as the

Attorney General of New York. During her tenure as New York City Public Advocate, she was

leading “die in” protests against Trump because of her stated belief that “we are all being killed

by this administration.” See Ex. A ¶ 19. She continued to publicly voice her disdain for Trump

during his first term in an effort to make him and his supporters “uncomfortable and not able to

rest well.” Id. at ¶ 20.

         In May of 2018, Defendant declared her candidacy for Attorney General of the State of

New York. Defendant’s campaign was centered on “taking on Donald Trump.” Id. at ¶ 26. The

following statements are illustrative of the attacks she levied upon the Plaintiff:

    •    She referred to Trump as an “illegitimate president” and vowed to “fight against Donald
         Trump and his harmful administration.” Id. at ¶ 34.
    •    She pledged to use the law as a “sword” against Trump and proclaimed that “no one is
         above the law, including this illegitimate president…and so I look forward to going into


                                                  2
          Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 11 of 33




           the office of Attorney General every day, suing him, defending your rights, and then going
           home!” Id. at ¶ 36.
      •    In her victory speech, she vowed to “shin[e] a bright light into every dark corner of
           [Trump’s] real estate holdings. Id. at ¶ 52.
      •    Defendant promised to “use every area of the law to investigate President Trump and his
           business transactions and “anyone in [Trump’s] orbit. Id. at ¶ 56.

           Upon swearing in as Attorney General, Defendant swiftly acted upon her campaign

promises and employed the authority and array of her office’s resources to formally open an

investigation of the Trump Organization and issued subpoenas to Deutsche Bank and Investors

Bank “for records relating to the financing of four major Trump Organization projects.” Id. at ¶

67.

           On April 23, 2019, Defendant continued to repeat her baseless accusation that Plaintiffs

actively participated in criminal activity: “We need to focus on Donald Trump and his abuses…we

need to follow his money…we need to find out where he’s laundered money…all of those

transactions have happened here in New York City.” Id. at ¶ 74. On December 10, 2019,

Defendant accused Trump of “abuse of power.” Id. at ¶ 80. Notwithstanding the never-ending

tirade of biased and inflammatory statements made by Defendant, and the unconstitutional nature

and scope of the civil investigation, Plaintiffs produced over eight million pages of documents in

response to Defendant’s subpoenas. Id. at ¶ 88.

           Defendant made it abundantly clear that this investigation was little more than a pollical

maneuver when she declared her candidacy for Governor of New York State. In her announcement

video, she proudly proclaimed that she “sued the Trump Administration 76 times, but who is

counting?” Id. at ¶ 92. With this statement, Defendant signaled that she would once again center

her forthcoming campaign upon ‘taking on Trump.’ However, when her campaign no longer

became viable, she suspended her campaign for Governor of New York and instead announced

that she would run for re-election as Attorney General. In a statement that accompanied her


                                                   3
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 12 of 33




withdrawal, she stated “I must continue my work as attorney general…[t]here are a number of

important investigations and cases that are underway, and I intend to finish the job.” Id. at ¶ 94.

It is clear that the “job” she alluded to was to continue maliciously prosecuting Trump, his family,

his business, and anyone that was associated with him.

        The flagrant abuse committed by Defendant’s office has not gone unnoticed. The Editorial

Board of the Wall Street Journal duly noted that it would take “significant findings of fraud by her

office to justify the damage to the legal system inflicted by an apparently political probe against

an opposition party leader” and that “her investigation looks like more evidence of the decline of

America’s rule of law.”3 Similarly, CNN senior legal analyst Elie Honig commented on the instant

matter, stating that “the crux of [Trump’s] argument is, we have been politically targeted by this

attorney general, Letitia James…that’s not a matter of opinion or speculation…She said,

essentially, the main plank of her platform was vote for me, and I’ll nail the Trumps.”4

                                           LEGAL STANDARD

        A district court may grant a preliminary injunction “where a plaintiff demonstrates

‘irreparable harm’ and meets one of two related standards: ‘either (a) a likelihood of success on

the merits, or (b) sufficiently serious questions going to the merits of its claims to make them fair

ground for litigation, plus a balance of the hardships tipping decidedly in favor of the moving

party.’” Otoe-Missouria Tribe of Indians v. N.Y. State Dept. of Fin. Servs., 769 F.3d 105, 110 (2d

Cir. 2014) (quoting Lynch v. City of New York, 589 F.3d 94, 98 (2d Cir. 2009). Courts will also

consider whether the injunction is in the “public interest.” Am. Civil Liberties Union v. Clapper,




3
  The Wall Street Journal, New York’s Trump Inquisition, January 4, 2022, https://www.wsj.com/articles/new-yorks-
trump-inquisition-letitia-james-ivanka-eric-donald-11641336578
4
  Newsbusters, CNN Analyst Admits: New York AG ‘Politically Targeted’ Trump Family, January 4th, 2022,
https://www.newsbusters.org/blogs/nb/mark-finkelstein/2022/01/04/cnn-analyst-admits-new-york-ag-politically-
targeted-trump


                                                       4
      Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 13 of 33




804 F.3d 617, 622 (2d Cir. 2015) (“A party seeking a preliminary injunction must generally show

a likelihood of success on the merits, a likelihood of irreparable harm in the absence of preliminary

relief, that the balance of equities tips in the party’s favor, and that an injunction is in the public

interest.”).

                                                   ARGUMENT

         Although a prosecutor is afforded a wide latitude of discretion in performing her duties,

the Supreme Court has “made clear that traditions of prosecutorial discretion do not immunize

from judicial scrutiny cases in which the enforcement decisions of an administrator were motivated

by improper factors or were otherwise contrary to law.” Marshall v. Jerrico, Inc., 446 U.S. 238,

249 (1980).

         In this action, Plaintiffs have asserted numerous causes of action arising from Defendant’s

gross departure from the widely accepted standards of prosecutorial ethics, which has resulted in

numerous violations of the United States Constitution5 and New York state law. Plaintiffs are

entitled to the requested injunctive relief because they have suffered, and will continue to suffer,

irreparable harm as a direct result of Defendant’s actions; have put forth meritorious claims under

the First, Fourth, and Fourteenth Amendments of the United States Constitution as well as New

York state law; have demonstrated that the balancing of equities weighs in Plaintiffs’ favor; and

have shown that the granting of the preliminary injunction is in the public interest.

         I.       Plaintiffs Are Suffering Irreparable Harm Due to the Ongoing Deprivation
                  of Their Constitutional Rights
         To warrant the issuance of a preliminary injunction, a movant must first demonstrate that

he is likely to suffer irreparable harm in the absence of the requested relief. In fact, the “showing


5
  Plaintiffs’ constitutional claims are brought pursuant to 42 U.S.C. § 1983, which states “[e]very person who, under
color of any statute, ordinance, regulation, custom, or usage, of any State . . . subjects, or causes to be subjected, any
citizen…to the deprivation of any rights, privileges, or immunities secured by the Constitution…shall be liable to the
party injured in an action at law, suit in equity, or other proper proceeding for redress.”


                                                            5
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 14 of 33




of irreparable harm is the single most important prerequisite for the issuance of a preliminary

injunction.” Bisnews AFE (Thailand) Ltd. v. Aspen Research Grp. Ltd., 437 Fed. App'x 57, 58 (2d

Cir. 2011) (quoting Faiveley Tansport Malmo AB v. Wabtec Corp, 559 F.3d 110, 118 (2d Cir.

2009). To satisfy this requirement, the movant must demonstrate that absent a preliminary

injunction he will “suffer an injury that is neither remote nor speculative, but actual and imminent,

and one that cannot be remedied if a court waits until the end of trial to resolve the harm.” Id.

        It is well-established that irreparable harm is presumed when a plaintiff has alleged that his

constitutional rights are being violated. See Jolly v. Coughlin, 76 F.3d 468, 482 (2d Cir. 1996)

(“Generally an alleged violation of a constitutional right creates a presumption of irreparable

harm.”); see also Statharos v. New York City Taxi and Limousine Commission, 198 F.3d 317, 322

(2d Cir.) (“Because plaintiffs allege deprivation of a constitutional right, no separate showing of

irreparable harm is necessary.”). This holds true whether the alleged violation arises from the First

Amendment, see Tunick v. Safir, 209 F.3d 67, 87 (2d Cir. 2000)) (“[v]iolations of First Amendment

rights are commonly considered irreparable injuries for the purposes of a preliminary injunction.”)

(citation omitted); Elrod v. Burns, 427 U.S. 347, 373 (1976) (“the loss of First Amendment

freedoms…unquestionably constitutes irreparable injury.”), the Fourth Amendment, see Covino v.

Patrissi, 967 F.2d 73, 77 (2d Cir. 1992) (“given the fundamental right involved, namely, the right

to be free from unreasonable searches—[movant] has sufficiently demonstrated for preliminary

injunction purposes that he may suffer irreparable harm arising from a possible deprivation of his

constitutional rights.”) (citing Mitchell v. Cuomo, 748 F.2d 804 (2d Cir. 1984)), or the Fourteenth

Amendment, see Ass’n of Jewish Camp Operators v. Cuomo, 470 F.Supp.3d 197, 227 (N.D.N.Y

July 6, 2020) (holding that it is the alleged violation of a constitutional right that triggers a finding

of irreparable harm, for purposes of determining whether a preliminary injunction is warranted).




                                                   6
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 15 of 33




        Here, Plaintiffs have alleged—and will ultimately prove—that Defendant’s improper,

politically-motivated investigations have violated their constitutional rights under the First, Fourth

and Fourteenth Amendments and, absent judicial intervention, their rights will continue to be

violated. Given the breadth and gravity of Plaintiffs’ allegations, coupled with the ongoing nature

of the deprivation of rights, irreparable harm must be presumed by law. Therefore, for the purposes

of the instant motion, this prong is satisfied without need for further factual inquiry. See Coughlin,

supra, at 482 (“The district court therefore properly relied on the presumption of irreparable injury

that flows from a violation of constitutional rights … it is the alleged violation of a constitutional

right that triggers a finding of irreparable harm.”).

        II.      Plaintiffs Have a Likelihood of Success on the Merits

        The second prong Plaintiffs must satisfy is to establish that their claims have either “a

likelihood of success on the merits, or sufficiently serious questions going to the merits of its

claims to make them fair ground for litigation.” N.Y. State Dept. of Fin. Servs., 769 F.3d at 110.

Although making this showing as to a single claim will suffice, Plaintiffs are able to do so for all

of the claims set forth in their Complaint.

                 A. Plaintiffs’ Right to Freedom of Speech under the First Amendment is
                    Being Impermissibly Infringed

        The First Amendment forbids the government from “abridging the freedom of speech,”

U.S. Const. amend. I, and is designed to protect against “the inherent risk that the Government

seeks not to advance a legitimate regulatory goal, but to suppress unpopular ideas.” Hill v.

Colorado, 530 U.S. 703, 719 (2000). This protection extends to political speech, which includes,

among other things, an individual’s6 political association, expression and ideology, Buckley v.


6
 The First Amendment applies equally to corporations. See Citizens United v. Fed. Election Com'n, 558 U.S. 310,
342 (2010) (“Political speech does not lose First Amendment protection simply because its source is a corporation.”)



                                                         7
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 16 of 33




Valeo, 424 U.S. 1, 15 (1976), and affords the “freedom to associate with others for the common

advancement of political beliefs and ideas, a freedom that encompasses (t)he right to associate

with the political party of one’s choice.” Id. In fact, the First Amendment “affords the broadest

protection to such political expression ‘to assure (the) unfettered interchange of ideas for the

bringing about of political and social changes desired by the people,’” Id. (quotation omitted), and

is rooted in a “hostility to government action that “prescribe[s] what shall be orthodox in

politics,” Heffernan v. City of Paterson, N.J., 578 U.S. 266, 270 (2016) (citation omitted). In this

regard, “it can hardly be doubted” that the First Amendment has its “fullest and most urgent

application precisely to the conduct of…political office.” Id.

       Among the types of conduct proscribed by the First Amendment are viewpoint

discrimination and retaliatory action. As described herein, Defendant has plainly engaged in both

forms of prohibited conduct.

       Viewpoint discrimination occurs when the government “disfavors certain speech because

of ‘the specific motivating ideology or the opinion or perspective of the speaker.’” Wandering

Dago, Inc. v. Destito, 879 F.3d 20, 30–31 (2d Cir. 2018) (citation omitted); see also Citizens United

v. Fed. Election Comm’n, 558 U.S. 310, 340 (2010) (“Premised on mistrust of governmental

power, the First Amendment stands against attempts to disfavor certain subjects or viewpoints.”).

“It is axiomatic that the government may not regulate speech based on its substantive content or

the message it conveys.” Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 828

(1995) (citing Police Dep’t of Chi. v. Mosley, 408 U.S. 92, 96 (1972)). Indeed, “[g]overnment

‘discrimination against speech because of its message is presumed to be unconstitutional.’”

Wandering Dago, Inc., 87 F.3d 20 at 31 (citing Rosenberger, supra).




                                                 8
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 17 of 33




        Turning to the instant matter, Defendant’s actions plainly manifest the elements of

viewpoint discrimination. There is no question that Defendant vehemently disfavors Trump’s

political ideology, which is diametrically opposed to her own. This much can be gleaned from

Defendant’s own public statements, which are outlined at length in Plaintiff’s Complaint. See

Habba Decl., Ex. A. For example, Defendant has, among other things: frequently referred to

Trump as an “illegitimate president,” see Id. ¶¶ 32, 36, 46, 48, 50, 66; led “die-in” protests against

Trump while claiming that “we are all being killed by [the Trump] administration,” Id. ¶ 19;

pledged to “fight” against “Donald Trump and his harmful administration,” Id. ¶ 34; accused

Trump of showing a “blatant disregard for human lives,” Id. ¶ 22, engaging in “public corruption,”

Id. ¶ 27, and “defrauding Americans,” Id. ¶ 51; declared that Trump is waging a “cruel crusade

against…invaluable members of our society,” Id. ¶ 79, and that he “doesn’t believe in the rights

and liberties of marginalized and vulnerable populations, Id. ¶ 83; claimed that he “doesn’t believe

in the rights and liberties of marginalized and vulnerable populations,” Id. ¶ 83; and, displaying an

utter lack of self-awareness, accused him of “abus[ing] [the] power” of his presidency, Id. ¶ 80.

        Further, Defendant makes no attempt to conceal the fact that her actions are motivated by

political bias. Her entire campaign for New York Attorney General was premised on the idea that

she was the political antithesis to Trump and that she would “take [him] on” if elected. See Habba

Decl., Ex. A ¶ 33. She bluntly promised to employ her power as Attorney General as a “sword”

against Trump and even went so far as proclaiming that she “looked forward to going into the

office of Attorney General every day, suing him…and then going home.” Id. ¶ 36. Her stated

objective was to be a “real pain in the ass” to Trump, Id. ¶ 66, by “us[ing] every area of the law to

investigate” him and “anyone in his orbit,” Id. ¶ 56. In her own words, this bitter crusade to harass

a private citizen, and those closest to him, “fuels [her] soul.” Id. ¶ 66.




                                                   9
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 18 of 33




        Defendant’s conduct—abusing her investigatory power to silence a political opponent—

not only constitutes viewpoint discrimination, but it also falls squarely within the type of retaliatory

conduct that is prohibited under the First Amendment. See Hartman v. Moore, 547 U.S. 250, 256

(2006) (“The law is settled that as a general matter the First Amendment prohibits government

officials from subjecting an individual to retaliatory actions, including criminal prosecutions” for

exercising their First Amendment rights.”); see also Wayte v. United States, 470 U.S. 598, 608

(1985) (“To establish a retaliation claim, a plaintiff must show that: (1) his conduct was protected

by the First Amendment, and (2) such conduct prompted or substantially caused defendant’s

[retaliatory] action.”).

        Accordingly, Defendant’s actions qualify as viewpoint discrimination and retaliatory

action and, therefore, impermissibly infringe his rights under the First Amendment.

                B. Defendant Has Violated Plaintiffs’ Fourth Amendment Right to be Free
                   from Unreasonable Searches and Seizures

        The Fourth Amendment guarantees individuals and corporations the right to be secure in

their “papers[] and effects against unreasonable searches and seizures.” U.S. Const. amend. IV.

        One such protection afforded pursuant to the Fourth Amendment is the prohibition against

“fishing expeditions into private papers on the possibility that they may disclose evidence of

crime.” Fed. Trade Comm’n v. Am. Tobacco Co., 264 U.S. 298, 306 (1924). This procedural

safeguard rests on the belief that it is “contrary to the first principles of justice to allow a search

through all the [movant’s] records, relevant or irrelevant, in the hope that something will turn up.”

Id.; see also Trump v. Vance, 140 S. Ct. 2412, 2428 (2020) (noting the prohibition against

“engaging in arbitrary fishing expeditions” and “initiating investigations out of malice or an intent

to harass.”) (citations and quotations omitted). In that vein, a subpoena may only be issued for a

“proper purpose” and the information sought must be “relevant to that purpose.” Fed. Election



                                                  10
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 19 of 33




Com'n v. Larouche Campaign, 817 F.2d 233, 234 (2d Cir. 1987). Further, “when an administrative

agency subpoenas corporate books or records, the Fourth Amendment requires that the subpoena

be sufficiently limited in scope, relevant in purpose, and specific in directive so that compliance

will not be unreasonably burdensome.” In re Horowitz, 482 F.2d 72, 78 (2d Cir. 1973) (quoting

See v. City of Seattle, 387 U.S. 541, 544 (1967)).

       In the instant scenario, Defendant’s pretextual investigation blatantly constitutes an

unreasonable search and seizure in violation of Plaintiffs’ Fourth Amendment rights. At the outset,

Plaintiffs have demonstrated that the investigation lacks a “proper purpose” as evidenced by the

exhaustive list of statements made by Defendant which show that she commenced the investigation

out of political animus and for the purpose of harassing, threatening, intimidating and retaliating

against Plaintiffs. Consequently, the investigation is unconstitutional by design.

       Further, Defendant’s investigation lacks an evidentiary basis and is nothing more than an

impermissible “fishing expedition” which runs afoul of the Fourth Amendment. As described in

the Complaint, in furtherance of her campaign efforts, Defendant effusively promised to

investigate Plaintiffs if she were to be elected as Attorney General. Her commitment to ‘taking

down’ Trump was the primary focus of her campaign. Among other things, Defendant pledged

that, if elected as Attorney General, she would: “take on Donald Trump,” Habba Decl., Ex. A. ¶

33; go “into the office…every day” to “su[e] him, Id. ¶ 36; “ask him some questions – under oath,”

Id. ¶ 40; immediately investigate him and his “cronies,” Id. ¶ 41; “challenge this illegitimate

president,” Id. ¶ 46; and “join with law enforcement and other attorney generals across the nation

in removing this President from office,” Id. ¶ 47.

       Critically, these statements were made prior to Defendant being elected Attorney General,

at a time when she possessed no information or insight into Plaintiffs’ activities other than what




                                                11
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 20 of 33




was publicly available. In making these statements without any evidentiary basis whatsoever,

Defendant made her intentions perfectly clear – once elected, she planned to employ the resources

and authority of her government position to investigate Plaintiffs “in the hope that something will

turn up.” Am. Tobacco Co., supra. That is exactly what she has done since taking office. Her

baseless investigation into Plaintiffs’ business activities is merely the realization of her pre-

election promise to search far and wide for any possible evidence of wrongdoing. As such, it fits

the hornbook definition of a “fishing expedition.” Am. Tobacco Co., supra, at 306.

       Moreover, in furtherance of these efforts, Defendant has served countless subpoenas that

are unconstitutional in their own right since they are overly broad, irrelevant and unduly

burdensome to Plaintiffs. In reviewing the exercise of the Attorney General’s subpoena power,

New York courts “weigh[] the scope and basis for the issuance of the subpoena against the factual

predicate for the investigation ‘lest the powers of investigation, especially in local agencies,

become potentially instruments of abuse and harassment.’” Airbnb, Inc. v. Schneiderman, 44 Misc.

3d 351, 356 (Sup. Ct. Albany Cnty. 2014) (quoting Myerson v. Lentini Bros. Moving & Storage

Co., 33 N.Y.2d 250, 258 (1973)). When the investigation has extended past its initial stage, the

Attorney General “may not rest alone on [the] inference” that some wrongdoing may have

occurred. A’Hearn v. Comm. on Unlawful Practice of Law of N.Y. Cty. Lawyers’ Ass’n, 23 N.Y.2d

916, 919 (1969). To justify the substantial widening of a long-running investigation, the Attorney

General must demonstrate that continued investigative “efforts would or reasonably might prove

fruitful.” Horn Const. Co. v. Fraiman, 34 A.D.2d 131, 133 (1st Dep’t 1970).

       Defendant’s formal investigation into Plaintiffs’ business activities has been active for

nearly three years and, despite millions of dollars and countless hours expended, Defendant has

yet to uncover any evidence sufficient to justify heightened action against Plaintiffs. Yet, the




                                                12
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 21 of 33




barrage of subpoenas continues. The most recent subpoenas served by Defendant in December

2021 request both testimony and documents from Trump along with testimony from two of

children, Donald Trump, Jr. and Ivanka Trump. The all too familiar subject areas identified in the

document subpoenas include requests for information about valuations and appraisals of properties

and assets of Plaintiffs. These matters have long been the subject of Defendant’s joint criminal

investigation with the Manhattan District Attorney’s Office and Defendant’s civil investigation

dating back to 2019. Thus, her repetitious onslaught of subpoenas, which have failed to produce

any fruitful evidence, demonstrate that the subpoenas lack a legitimate basis and are merely

“instruments of abuse and harassment.” Fraiman, 34 A.D.2d at 131.

       Based on the foregoing, Defendant’s investigation exceeds the bounds of the Fourth

Amendment since it is an “arbitrary fishing expedition” that was commenced for an improper

purpose and without a justifiable basis.

               C. Defendant’s Actions Violate Plaintiffs’ Constitutional Right to Due Process
                  Under the Fourteenth Amendment

       The Fourteenth Amendment, also known as the Due Process Clause, guarantees that no

state shall “deprive any person of life, liberty, or property, without due process of law.” U.S. Const.

amend. XIV. In deciding whether due process concerns are implicated by a particular state act, a

court must consider whether that act “‘offend[s] those canons of decency and fairness which

express the notions of justice of English speaking peoples'.... [and is] ‘so rooted in the traditions

and conscience of our people as to be ranked as fundamental.’” Rochin v. California, 342 U.S.

165, 169 (1952) (citations omitted). It is “implicit in the concept of ordered liberty” exemplified

by the Fourteenth Amendment, Palko v. Connecticut, 302 U.S. 319, 325, 58 S.Ct. 149, 152, 82

L.Ed. 288 (1937), that the processes by which a person is deprived of her liberty not be tainted by




                                                  13
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 22 of 33




the intentional and malicious acts of state officials. Cf. Screws v. United States, 325 U.S. 91, 65

(1945); see also Morrison v. Lefevre, 592 F.Supp 1052, 1077 (S.D.N.Y. 1984).

       Due process concerns are particularly relevant in a prosecutorial context, since prosecutors

“have available a terrible array of coercive methods to obtain information," including “civil

investigatory demands, [and] enhanced subpoena power,” the misuse of which “would unfairly

harass citizens, give unfair advantage to [the prosecutor's personal interests], and impair public

willingness to accept the legitimate use of those powers.” Young v. U.S. ex re. Vuitton et Fils S.A.,

481 U.S. 787, 807 (1987). For example, “if a prosecutor uses the expansive prosecutorial powers

to gather information for private purposes, the prosecutorial function has been seriously abused

even if, in the process, sufficient evidence is obtained to convict a defendant.” Id. at 811.

       Defendant’s actions offend at least two aspects of constitutional due process. First, her

unabashed political bias contravenes Plaintiffs’ entitlement to a disinterested prosecutor. Second,

her unauthorized participation in the Manhattan District Attorney’s criminal proceedings exceeds

the clearly delineated statutory authority of the Office of the Attorney General. Taken together,

these actions result in an unfair application of the law and a significant deprivation of Plaintiffs’

rights under the Fourteenth Amendment.

                       i. Defendant is an Interested Prosecutor

       The Fourteenth Amendment prohibits a prosecutor from “injecting a personal interest,

financial or otherwise, into the enforcement process.” Marshall v. Jericho, Inc., 446 U.S. 238, 249-

250 (1980). Indeed, a “disinterested prosecutor”—one who is not “influenced by improper

motives”—is required by due process. Vuitton, 481 U.S. at 788; see also Berger v. United States,

295 U.S. 78, 88 (1935) (“It is as much [the prosecutor’s] duty to refrain from improper methods

calculated to produce a wrongful conviction as it is to use every legitimate means to bring about a




                                                 14
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 23 of 33




just one.”). In fact, the presence of an interested prosecutor is a “fundamental and pervasive” error

– an injustice so severe that it warrants the reversal of any conviction resulting therefrom without

consideration for the facts or circumstances of the particular case. Vuitton, 481 U.S. at 815.

       Given the vast array of statements that Defendant has made demonstrating her overt

political agenda, coupled with her well-documented disdain for Plaintiffs, she cannot possibly be

construed as a disinterested prosecutor in her investigation of Plaintiffs. Among the vast array of

prejudicial statements outlined in Plaintiff’s Complaint, Defendant’s pernicious bias is perhaps

best exemplified in her callous disregard for the presumption of innocence, a hallmark of

prosecutorial ethics which requires a prosecutor to “refrain from speaking in public about pending

and impending cases except in very limited circumstances.” United States v. Bowen, 799 F.3d 336,

353-354 (5th Cir. 2015). Despite her well-founded obligation to not taint the public’s perception

of an ongoing investigation, Defendant seemingly jumps at every opportunity to offer public

comment about her investigation of Plaintiffs. Even worse, her comments prejudge Plaintiffs’

guilt by presuming they have committed the crimes being investigated. See e.g., Habba Decl., Ex.

A. ¶¶ 41, 47, 50, 56, 61, 62, 68, 100 and 109.

       Most astonishing, Defendant’s statements were not only made without a conviction, but

without so much as an indictment. New York federal courts have rebuked precisely these types of

remarks which “bundle together unproven allegations regarding [a] [d]efendant with broader

commentary on corruption and a lack of transparency in certain aspects of . . . politics.” United

States v. Silver, 103 F. Supp. 3d 370, 378-79 (S.D.N.Y. 2015). Statements of this nature are

inherently prejudicial because “it would not be unreasonable for members of the media or the

public to interpret” them “as a commentary on the character or guilt of” the individual or entity

under investigation. Id. at 379. “Remarks that associate the accused with a broader pattern [of




                                                 15
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 24 of 33




government or corporate conduct] or recognized wrongdoing…are of concern specifically because

they tend to blur the distinction between legitimate public commentary and improper opinion.” Id.

                       ii.     Defendant’s Participation in a Contemporaneous Criminal
                               Action Exceeds its Statutory Authority

       In New York, the Office of the Attorney General (“OAG”) has the authority to conduct a

civil investigation into whether any person has engaged in “repeated fraudulent illegal acts or

otherwise demonstrate[d] persistent fraud or illegality in the carrying on, conducting or transaction

of business.” McKinney’s Executive Law § 63(12). In the usual course, “the attorney general is

authorized to take proof and make a determination of the relevant facts and to issue subpoenas in

accordance with the civil practice law and rules. Such authorization shall not abate or terminate

by reason of any action or proceeding brought by the attorney general under this section.” Id.; see

Matter of Harlem Teams for Self-Help v. Department of Investigation of City of N.Y., 122 Misc.2d

1066, 1074, 472 N.Y.S.2d 967 (N.Y. Co. 1984).

       However, the OAG’s investigatory powers are strictly limited by New York law.

Specifically, the OAG does not have the power to commence criminal investigations unless

expressly permitted to do so, as this authority has over time been transferred to county district

attorneys pursuant to Executive Law § 63(2). McKinney’s Executive Law § 63(2); see also People

v. Cuttita, 7 N.Y.3d 500, 507 (2006). The evolution of Executive Law § 63(2) and its related

provisions makes clear that the Legislature has sought to delineate meticulously the prosecutorial

powers of the OAG. People v. Gilmour, 98 N.Y.2d 126, 132 (2002).

       To obtain authority to commence a criminal investigation or prosecution, the OAG must

receive express permission from the Governor in the form of an Executive Order with a grant of

superseding authority. Executive Law § 63(2). Notably, the OAG bears the burden in showing

that the Governor asked for the prosecutorial participation of the OAG in a particular matter. Id.



                                                 16
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 25 of 33




at 135. In the absence of such an order, the OAG lacks power to criminally investigate a defendant,

to such an extent that any subsequent indictment must be dismissed. Id. (citing People v.

Romero, 91 N.Y.2d 750, 758 (1998); People v. Fox, 253 A.D.2d 192, 195 (1999) (“Hence, because

this investigation was not activated ‘by the request of a proper State officer pursuant to [Executive

Law § 63] the indictment must be dismissed.’”).

        The mandates of Executive Law § 63(2) are relevant here because Defendant is exceeding

her statutory authority by improperly heading a criminal investigation of Plaintiffs in addition to

her ongoing civil investigation. On May 18, 2021, Defendant formally Defendant formally

announced that her Office had launched a criminal investigation.7 During a press conference held

on May 21, 2021, Defendant publicly stated that her office was not only conducting its own

criminal investigation but was also actively working with the Manhattan District Attorney in a

joint criminal investigation, including cross-designating OAG staff attorneys as “Special ADAs”

as part of the joint investigation:

        Our civil investigation continues, but we are now actively investigating the Trump
        Organization in a criminal capacity and we are working alongside, cooperating
        with the Manhattan District Attorney, Cy Vance. […] [T]wo of our assistant
        attorneys general have been cross designated as district attorneys.8

        Numerous press reports, including some in recent weeks, make clear that the joint

OAG/Manhattan DA investigation is focused on valuations and appraisals of Plaintiffs’ properties

as reflected in financial statements and as presented to taxing authorities and financial institutions




7
  See S. Chamberlain, May 18, 2021 “New York AG reveals Trump Organization probe is now ‘criminal,’” N.Y. Post,
available at https://nypost.com/2021/05/18/new-york-ag-reveals-trump-organization-probe-is-now-criminal.
8
  See ABC online article, “New York AG has 2 lawyers working with DA on Trump probe” – ABC News (go.com);
See Danny Hakim et al., “New York’s Attorney General Joins Criminal Inquiry Into Trump Organization,” N.Y.
TIMES (May 18, 2021), available at https://nyti.ms/3nf9t8Jd; see also Habba Decl., Ex. A at ¶87.


                                                      17
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 26 of 33




– the very same subject matter as the Attorney General’s investigation.9 Press reports further

indicated that the joint OAG/DANY investigation has targeted the very same properties and

transactions that are the subject of the Attorney General’s investigation.10

         Recently, on December 14, 2021, during an appearance on The View, a nationally televised

daytime talk show, Defendant was about whether her office was “trying to depose Trump under

oath next month.” Defendant replied:

              “We indicted the Chief Financial Officer of the Trump Organization and the
              Trump Organization itself. So, I have two parallel investigations, one civil,
              one criminal … We indicted Mr. Weisselberg, the CFO, and the Trump
              Organization – that investigation is ongoing.”

              (Letitia James on “The View,” December 14, 2021) (Emphasis added).

         By Defendant’s own admission, she is not only conducting a civil investigation into

Plaintiffs – she is also conducting a contemporaneous criminal investigation of them as well. Yet,

Defendant has not proffered an Executive Order or other directive which granted her the authority

to do so. In such a scenario, the Court of Appeals has noted:

         When the Attorney General “‘exercise[s] all the powers and perform all the duties
         ... which the district attorney would otherwise be authorized or required to exercise
         or perform,” the absence of an Executive Order [under Executive Order § 63(2)]
         would have rendered the intervention jurisdictionally defective, even if requested
         and agreed to by the District Attorney. As we explained in Matter of Schumer v.
         Holtzman (supra), the essence of a District Attorney's constitutional, statutory and
         common-law prosecutorial authority is the “discretionary power to determine
         whom, whether and how to prosecute [a criminal] matter” (60 NY2d, at 52), the

9
   See, e.g., David A. Fahrenthold, Trump’s longtime accountant testifies to N.Y. grand jury in criminal probe,
WASHINGTON POST (December 14, 2021) (“Prosecutors are investigating whether Trump’s company broke the law by
giving widely different values for the same property at the same time. In some cases, for instance, the Trump
Organization provided low valuations to property-tax officials, while telling lenders that the same property was worth
much more.”); William K. Rashbaum, Ben Protess and Jonah E. Bromwich, Trump Fraud Inquiry’s Focus: Did He
Mislead His Own Accountants?, N.Y. Times (Dec. 14, 2021) (reporting that “the prosecutors, working with the Office
of the New York State attorney general, Letitia James, have examined the possibility that Mr. Trump and his deputies
at the company cherry-picked favorable information — and ignored data that ran counter to it — to essentially mislead
the accountants into presenting an overly rosy picture of his finances”).
10
   See id.; see also, e.g., Jonah E. Bromwich, Ben Protess and William K. Rashbaum, New York A.G. to Subpoena
Trump to Testify in Fraud Investigation, N.Y. TIMES (Dec. 9, 2021);



                                                         18
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 27 of 33




       responsibility and accountability for which is not freely transferable to anyone else,
       and that includes the Attorney-General.”

Matter of Haggerty v. Himelein, 89 N.Y.2d 431, 436 (1997).

       Defendant’s admitted “criminal investigation” of Plaintiffs, which is being done without

the necessary authorization required under Executive Law § 63(2), is clearly outside the bounds

of the OAG’s statutory authority.

       Moreover, even if Defendant did have the requisite authority to proceed with a criminal

investigation, the co-mingling of joint criminal and civil investigations – being handled by the

same office – is highly prejudicial to Plaintiffs and “clearly offends those canons of decency and

fairness which express the notions of justice.” California, 342 U.S. at 169. Indeed, New York

courts have recognized that, in the context of parallel criminal and civil investigations, a stay of

the civil proceedings is appropriate “where the civil and criminal actions involve the same subject

matter … and is even more appropriate when both actions are brought by the government.” Brock

v Tolkow, 109 F.R.D. 116, 119 (E.D.N.Y 1985). In such a scenario, a stay is warranted to guard

against the “special danger that the government can effectively undermine rights that would exist

in a criminal investigation by conducting a de facto criminal investigation using nominally civil

means,” Sterling Bank v. A-I Hotels Int’s Inc., 175 F.Supp.2d 573, 579 (S.D.N.Y. 2001), a

maneuver which “undercuts” a defendant’s constitutional rights. Id. at 120.

       Here, Defendant’s dual role as civil and criminal investigator is highly prejudicial to

Plaintiffs. As evidenced by her own public statements, Defendant is intimately involved in

concurrent civil and criminal investigations against Plaintiffs and is therefore in position to use her

civil investigation to improperly advance her criminal investigation. By playing both sides, she is

able to cherry pick her investigatory methods – civil or criminal – in a calculated manner to, for

example, leverage a Fifth Amendment assertion and obtain an adverse inference. In other words,



                                                  19
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 28 of 33




she is taking full advantage of her “opportunity to escalate the pressure on [Plaintiffs] by

manipulating simultaneous civil and criminal proceedings, both of which [she] controls.” A-I

Hotels Int’s Inc., 175 F.Supp.2d at 579. Naturally, it is not appropriate for any state actor – let

alone the highest-ranking law enforcement official in the state – to endeavor into this type of

intentional circumvention of the procedural safeguards of the judicial system.

   Accordingly, Defendant’s handling of parallel criminal and civil investigations is per se

improper and an infringement of Plaintiffs’ due process rights under the Fourteenth Amendment.

               D. Defendant’s Actions Constitute an Abuse of Process

       Under New York state law, an action for abuse of process arises from the misuse of

regularly issued legal process, civil or criminal, to accomplish a purpose not justified by the nature

of the process. Board of Educ. of Farmingdale Union Free Sch. Dist. v. Farmingdale Classroom

Teachers Assn., Inc., 38 N.Y.2d 397 (1975); Liss v. Forte, 96 A.D.3d 1592, 947 N.Y.S.2d 270 (4th

Dep’t 2012). Indeed, as the Second Circuit has explained, “procedural due process forbids the use

of legal process for a wrongful purpose.” Cook v. Sheldon, 41 F.3d 73, 80 (2d Cir. 1994).

       Abuse of process has three essential elements: (1) regularly issued process, either civil or

criminal, (2) an intent to do harm without excuse or justification, and (3) use of the process in a

perverted manner to obtain a collateral objective.” Curiano v. Suozzi, 63 N.Y.2d 113, 116 (1984)

(citing Farmingdale, supra, at 403). A plaintiff asserting an abuse of process claim must also

plead special damages. See Reilly v. Natwest Markets Group, Inc., 178 F.Supp.2d 420, 430

(S.D.N.Y. December 28, 2001).

       The facts set forth in Plaintiffs’ Complaint plainly satisfy these elements. Initially, it is

well established that civil subpoenas are a “regularly issued process” which may give rise to an

abuse of process claim. See Farmingdale, 38 N.Y.2d at 404 (noting that subpoenas are “regularly




                                                 20
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 29 of 33




issued process” in the context of an abuse of process claim); see also Ginsberg v. Ginsberg, 84

A.D.2d 573, 573 (2d Dep’t 1981) (finding valid claim for abuse of process when party “repeatedly

and improperly used the subpoena power…to harass defendant and exhaust her resources.”).

       Next, in issuing the subpoenas, Defendant’s intent is to do harm to Plaintiffs without excuse

or justification. Defendant herself admitted that her goal was to be a “real pain in the ass,” see

Habba Decl., Ex. A. ¶ 55, to Plaintiffs and that she wanted to “vigorously fight” against them, Id.

¶ 78. In addition, considering that she frequently pledged to “take on [Trump] and his business,”

Id. ¶ 43, even before she was in office, it is overwhelmingly apparent that her investigation is not

based in substance or fact and is rooted in her desire to harm Plaintiffs. Indeed, Defendant’s

intention in bombarding Plaintiffs with overreaching and overly burdensome subpoenas is simply

to harass, intimidate, embarrass and/or injure them. James’s conduct Plaintiffs also constitutes a

jarring departure from New York’s Rules of Professional Conduct, which prohibit “[a] lawyer who

is participating in a criminal or civil matter” from “mak[ing] extrajudicial statement[s] that the

lawyer knows or reasonably should know will be disseminated by means of public communication

and will have a substantial likelihood of materially prejudicing an adjudicative proceeding in the

mater. N.Y.R.P.C. 3.5. See also Rule 23.1(b) of SDNY Local Rules (mandating that “government

lawyers…shall refrain from making any extrajudicial statement which a reasonable person would

expect to be disseminated by means of public communication that goes beyond the public record

or that is not necessary to inform the public that the investigation is underway, to describe the

general scope of the investigation, to obtain assistance in the apprehension of a suspect, to warn

the public of any dangers or otherwise to aid in the investigation, if there is a substantial likelihood

that such dissemination will interfere with a fair trial or otherwise prejudice the administration of




                                                  21
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 30 of 33




justice.”); ABA M.R.P.C. Rule 3.8 (“[A] [p]rosecutor shall…refrain from making extrajudicial

comments that have a substantial likelihood of heightening public condemnation of the accused”).

       Further, Defendant utilized the subpoenas in a perverted manner to obtain a collateral

objective. First, Defendant sought to obtain a collateral detriment to Plaintiffs inasmuch as she

sought to compel Trump to discontinue his political career by launching unfounded attacks against

him and his business. This much is evidenced by Defendant’s promise that she would “join with

law enforcement and other attorney generals across the nation in removing this President from

office” as well as her ominous warning that “the days of Donald Trump are coming to an end.” See

Habba Decl., Ex. A. ¶ 47. Second, not only were Defendant’s actions fueled by her political

animus towards Plaintiffs, but she was equally driven by a desire to obtain a collateral advantage

for herself inasmuch as she hoped to increase her public profile and advance her own career at

Plaintiffs’ expense. Her self-serving motive may be gleaned from the pompous, self-aggrandizing

nature of her statements, such as proclaiming herself the “fighter” who “will take on Donald

Trump,” Id. ¶ 33, or boasting that she “sued the Trump Administration 76 times, but who is

counting?” Id. ¶ 92.

       Finally, Plaintiffs have made a sufficient showing of special damages, as they have alleged

to have suffered “special damages in the form of costs of defense and attorney’s fees incurred in

defending against Defendant’s baseless investigations.” See Habba Decl., Ex. A. ¶ 155; see also

Parkin v. Cornell Univ., Inc., 78 N.Y.2d 523, 530 (1991) (finding that legal expenses incurred in

connection with defense constitute special damages); see also D'Amico v. Correctional Med. Care,

Inc., 120 A.D.3d 956, 960 (4th Dept 2014) (finding that “legal fees incurred in defending against”

abuse of process is “sufficient”) (citation omitted).

       Based on the foregoing, Defendant’s conduct constitutes an abuse of process on its face.




                                                 22
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 31 of 33




                      i.   The Balance of the Hardships Tips in Plaintiffs’ Favor

       The balance of hardships also favors granting the requested injunction. As demonstrated

above, Plaintiffs will continue to suffer irreparable harm in the absence of injunctive relief and it

is well-established that violations of constitutional rights, especially claims involving First, Fourth

and Fourteenth Amendment violations such as here, are per se irreparable harm for purposes of a

court’s consideration of an applicant’s request for injunctive relief. See, e.g., Lore v. City of

Syracuse, No. 00-CV-1833-HGM-DEP, 2001 WL 263051 at *6 (N.D.N.Y. 2001) (“[I]t is clear

that violations of First Amendment rights are commonly considered per se irreparable injuries”);

Elrod v. Burns, 427 U.S. 347, 373 (1976) (the loss of First Amendment freedoms unquestionably

constitutes irreparable injury); Jolly v. Coughlin, 76 F.3d 468, 482 (2d Cir. 1996) (finding that the

district court properly relied on the presumption of irreparable injury that flows from a violation

of constitutional rights to issue a preliminary injunction); Mitchell v. Cuomo, 748 F.2d 804, 806

(2d Cir. 1984) (“[w]hen an alleged deprivation of a constitutional right is involved, most courts

hold that no further showing of irreparable injury is necessary”).

       In contrast, Defendant will suffer no meaningful harm if the Court issues the injunction.

In fact, any claim by Defendant that she would suffer any such harm personally would only serve

to support Plaintiffs’ position that Defendant has exploited her state office to target Plaintiffs and

further her retaliatory motives. Indeed, injunctive relief would be for a limited duration. It would

ensure the status quo is preserved while this Court considers the merits of the parties’ claims, and

there would be no irreparable harm to the Defendants or the public. At the very least, Plaintiffs’

claims raise “sufficiently serious questions going to the merits to make them a fair ground for

litigation” and the “balance of the hardships tip [] decidedly toward . . . preliminary relief.”

Citigroup Glob. Markets, Inc. V. VCG Special Opportunities Master Fund Ltd., 598 F.3d 30, 35

(2d Cir. 2010). Federal courts have held that preliminary injunctive relief is warranted where a


                                                  23
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 32 of 33




case, such as the case at bar, raises “serious constitutional questions that require more time” and

issues that are “of such significance that they require” further “consideration and deliberation.”

U.S. Serviceman’s Fund v. Eastland, 488 F.2d 1252, 1256-57 (D.C. Cir. 1973).

         Therefore, the balancing test results in the scale tipping decidedly in Plaintiffs’ favor and

thus, injunctive relief is warranted.

                           iii.     A Preliminary Injunction is in the Public Interest

         The final consideration is whether the preliminary injunction sought by Plaintiffs is in the

public interest. Given the paramount public interests at stake—namely, securing the public’s trust

and faith in the judicial system—it assuredly is.

         This action deals with blatant abuses of power by the New York Attorney General, the

state’s “chief law officer.” People v. Fuller, 282 N.Y.S. 28, 49 (Gen. Sess. 1935). In this role,

Defendant is “the representative not of an ordinary party to a controversy, but of a sovereignty

whose obligation to govern impartially is as compelling as its obligation to govern at all.” Berger

v. United States, 295 U.S. 78, 88 (1935). She is entrusted with a great deal of power to “strike hard

blows” on behalf of the rule of law, but she is not permitted to “strike foul ones.” Id.11

         Given the seriousness of the constitutional violations involved in this action, monumental

public policy concerns are implicated. The conduct alleged herein—that Defendant is utilizing her

office to impermissibly target a private citizen and his company in furtherance of her own political

agenda—represents an outrageous abuse of the state’s policing power.                            Left unchecked,

Defendant’s continuing misconduct not only poses an imminent threat to Plaintiffs, but also to the

integrity of the institution of law as a whole.




11
  This obligation “applies equally to attorneys [general] who represent the government in civil disputes.” DaCosta v.
City of New York, 296 F. Supp. 3d 569, 600 (E.D.N.Y. 2017).


                                                         24
     Case 1:21-cv-01352-BKS-CFH Document 6-2 Filed 01/10/22 Page 33 of 33




       The Supreme Court has noted that “[p]rosecutors “have available a terrible array of

coercive methods to obtain information,” such as “police investigation and interrogation, warrants,

informers and agents whose activities are immunized, authorized wiretapping, civil investigatory

demands, [and] enhanced subpoena power” and that the “misuse of those methods would unfairly

harass citizens, give unfair advantage to [prosecutor's personal interests], and impair public

willingness to accept the legitimate use of those powers.” Vuitton, 481 U.S. at 807. For this reason,

it is vital that the public “have assurance that those who would wield this power will be guided

solely by their sense of public responsibility for the attainment of justice.” Id. at 814.

       These public policy considerations are all the more significant in the instant matter where

the target of the government speech and action is a political figure, a former President of the United

States, and the government actor is a state Attorney General who vehemently opposes him. Given

the significant public attention that the subject investigation has received, and sure will continue

to receive, there is a substantial risk that the ongoing presence of a biased prosecutor, such as

Defendant, will “create an appearance of impropriety” which will ultimately “diminish [] faith in

the fairness” of the judicial system. Id. at 812.

       Thus, Plaintiffs’ request for a preliminary injunction is firmly within the public interest.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs, Donald J. Trump and Trump Organization LLC,

respectfully requests this Court grant its motion.

Dated: January 10, 2021.                       Respectfully submitted,
       New York, New York



                                               ____________________________________
                                               Alina Habba, Esq.
                                               HABBA MADAIO & ASSOCIATES LLP



                                                    25
